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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                             8:16-CR-331

vs.
                                              MEMORANDUM AND ORDER
JULIAN MIX-PEREZ,

                  Defendant.


      This matter is before the Court upon initial review of the pro se motion
to vacate under 28 U.S.C. § 2255 (filing 220) filed by the defendant, Julian
Mix-Perez. The motion will be denied as premature.
      The defendant was sentenced on July 20, 2017, and judgment was
entered on July 24. Filing 144. A notice of appeal was filed on August 1.
Filing 149. That appeal was docketed in the U.S. Court of Appeals for the
Eighth Circuit as No. 17-2707, where it remains pending. And the defendant
cannot pursue postconviction relief while his direct appeal is still pending.
See United States v. Jagim, 978 F.2d 1032, 1042 (8th Cir. 1992); Masters v.
Eide, 353 F.2d 517, 518 (8th Cir. 1965).
      Accordingly, the defendant's motion to vacate will be denied without
prejudice. And because that conclusion is not debatable, the Court will not
issue a certificate of appealability. See Tennard v. Dretke, 542 U.S. 274, 282
(2004); see also Gonzalez v. Thaler, 132 S. Ct. 641, 648 (2012).
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     IT IS ORDERED:


     1.    The defendant's motion to vacate under 28 U.S.C. § 2255
           (filing 220) is denied without prejudice.


     2.    A separate judgment will be entered.


     3.    The Court will not issue a certificate of appealability.


     4.    The Clerk is directed to mail a copy of this Memorandum
           and Order to the defendant at his last known address.


     Dated this 11th day of April, 2018.


                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge




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